Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 1 of 19 PageID #:2205
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 2 of 19 PageID #:2206
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 3 of 19 PageID #:2207
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 4 of 19 PageID #:2208
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 5 of 19 PageID #:2209
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 6 of 19 PageID #:2210
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 7 of 19 PageID #:2211
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 8 of 19 PageID #:2212
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 9 of 19 PageID #:2213
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 10 of 19 PageID #:2214
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 11 of 19 PageID #:2215
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 12 of 19 PageID #:2216
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 13 of 19 PageID #:2217
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 14 of 19 PageID #:2218
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 15 of 19 PageID #:2219
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 16 of 19 PageID #:2220
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 17 of 19 PageID #:2221
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 18 of 19 PageID #:2222
Case: 1:17-cv-00194 Document #: 89-4 Filed: 06/02/17 Page 19 of 19 PageID #:2223
